Case 2:15-cr-00127-JDL Document 108 Filed 11/30/16 Page 1 of 5               PageID #: 275



                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

UNITED STATES OF AMERICA

              V.                          Docket NO. 15--127--JDL

TODD RASBERRY


                             SENTENCING MEMORANDUM



       I. GENERAL CONSIDERATIONS


       United States v. Booker, 543 U.S. 220, 125 S. Ct. 738 (2005), Gall v. United

States, 128 S. Ct. 596 (2007), Kimbrough v. United States, 128 S. Ct. 558 (2007), and

18 U.S.C. §3553(a) require the Court to consider “the nature and circumstances of the

offense and the history and characteristics of the defendant” and to impose a sentence

which is “sufficient but not greater than necessary” to comply with the enumerated

purposes of sentencing. The “sufficient, but not greater than necessary” requirement is

often referred to as the “parsimony provision.” The parsimony provision is not simply

another factor to be considered along with the others set forth in § 3553(a); it actually

imposes a separate and independent limit on the sentence a court may impose. See

United States v. Denardi, 892 F.2d 269, 276-77 (3d Cir. 1989) (Becker, J., concurring in

part, dissenting in part) (since § 3553(a) requires the sentence to be no greater than

necessary to meet four purposes of sentencing, imposition of sentence greater than

necessary to meet those purposes is reversible, even if within the guideline range).

Thus, under § 3553(a), courts are required to impose a sentence below the guideline

range if such a sentence would be sufficient to achieve the purposes of sentencing.
Case 2:15-cr-00127-JDL Document 108 Filed 11/30/16 Page 2 of 5              PageID #: 276



       Judge Selya, upholding a below guideline sentence, wrote for the First Circuit

Court of Appeals that post-Gall, “[A] sentencing court “should not consider itself

constrained by the guidelines to the extent that there are sound, case-specific reasons

for deviating from them. Nor should a sentencing court operate in the belief that

substantial variances from the guidelines are always beyond the pale.” United States v.

Martin, 520 F.3d 87 (1st Cir. 2008). The Court may deviate from the guidelines upon a

determination that the applicable guidelines do not fit the circumstances of the case

before it or if the Court disagrees with the Sentencing Commission policies reflected in

that guideline. Kimbrough, 128 S. Ct. at 573-74.


       At sentencing, district court judges have long expressed their disapproval of the

drug trafficking guidelines, as the Commission's own data reveal. In 1996, “there were

roughly 39 downward departures for every upward departure in drug trafficking cases.”

See United States v. Diaz, No. 11–CR–00821–2 (JG), 2013 WL 322243 at *8 (E.D.N.Y.

2013). “In 1998, there were roughly 54 downward departures for every upward one; in

2000 the ratio was 68:1; and in 2002 it was 73:1.” Id. Not surprisingly, post-Booker,

“sentences below the Guidelines range remain the rule rather than the exception for

drug trafficking cases.” Id. How far out of line are the drug trafficking ranges? The

degree to which sentencing judges vary downward provides a clue. In the period from

December 11, 2007 to September 30, 2010, the average reduction from the bottom end

of the applicable sentencing range in non- government sponsored below-range

sentences was 39 months for crack offenses (32.7% reduction) and 27 months for


                                          2
Case 2:15-cr-00127-JDL Document 108 Filed 11/30/16 Page 3 of 5               PageID #: 277



cocaine and heroin offenses (respectively, 33.7% and 37.2% reductions). Id.

       Deterrence is a factor to be considered in relation to the public at large as well as

a factor specific to Defendant. Defendant understands that, under § 3553(a)(2), the

Court is under an obligation to deter him from any further criminal activity, but to also

promote respect, provide just punishment, and to provide any needed educational or

vocational training, medical care, or other correctional treatment . He also understands

that these factors will weigh heavily in the Court’s determination of a sufficient sentence.

However, a substantially-below guideline sentence followed by supervised release will

provide a proportionate and sufficient sentence. Defendant in particular points to the

statements by the Probation Officer in Paragraph 75 of the Pre-Sentence Report

relative to extraordinary factors in Defendant’s life which have contributed to the path he

has been on and which justify the Court’s consideration relative to a substantial

variance from the Guideline range.


       II. Criminal History



              The only remaining objection relating to Criminal History relates to

Paragraph 33, which involves a possession charge out of the State of New York.

Defendant recognizes that based upon the documentary evidence provided he facially

fits within the convictions counted for 1 point under the Sentencing Guidelines in that

the conviction was within ten years of the date of the instant offense, 4A1.1(c) and that

the diversionary disposition seems to involve an admission of guilt in a judicial



                                          3
Case 2:15-cr-00127-JDL Document 108 Filed 11/30/16 Page 4 of 5                PageID #: 278



proceeding, 4A1.2(f). However, it is Defendant’s recollection that the conviction in this

case was to be fully discharged, resulting in no conviction at all. Further, Defendant

notes that the record is unclear as to whether he was represented by counsel, although

there is some reference in the document that he asserted, to some one at some time,

that he had counsel. However, Defendant resolved the case on the day following the

arrest when he would have had no counsel or at best perfunctory representation. The

nature of the judicial proceeding is also somewhat unclear from the documentary

evidence. While within ten years, in fact this is true by a mere period of six days. The

sentence was a brief period of community service, which later seemed to be amended

to time-served. Defendant argues that under all these circumstances it is unfair to count

this conviction, or if it is counted then it leads to the conclusion that Defendant’s

Criminal History Category(V) over-represents his actual record and that he should be

considered a Category IV.



Dated: November 30, 2016




                                                  s/s william maselli

                                                  William Maselli
                                                  Attorney for Defendant
                                                  120 Exchange Street
                                                  Portland, Maine 04101
                                                  207-780-8400




                                              4
Case 2:15-cr-00127-JDL Document 108 Filed 11/30/16 Page 5 of 5           PageID #: 279




                              CERTIFICATE OF SERVICE


       I hereby declare that I have today filed this Sentencing Memorandum in the

above case using ECF system which shall send notification of such filing to the United

States Attorney and all other parties.


Dated: November 30, 2016

                                               s/s william maselli

                                               William Maselli
                                               Attorney for Defendant
                                               120 Exchange Street 6th Floor
                                               Portland, Maine 04101
                                               207-780-8400




                                         5
